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Attorneys for Plaintiff Columbia Riverkeeper




                            UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON

                                   PENDLETON DIVISION


 COLUMBIA RIVERKEEPER,                                 Case No. 2:20-cv-02256-HL

                    Plaintiff,                         JOINT MOTION FOR ENTRY OF
                                                       CONSENT DECREE
                    v.

 PERENNIAL POWER HOLDINGS, INC.;
 and PERENNIAL-WINDCHASER, LLC,

                    Defendants.


       Plaintiff Columbia Riverkeeper and Defendants Perennial Power Holdings, Inc. and

Perennial-WindChaser, LLC have agreed to settle this case. Accordingly, the Parties hereby

jointly move the Court to enter the proposed Consent Decree filed herewith after the conclusion

of the waiting period imposed by the Clean Water Act.

       Plaintiff filed this action pursuant to the citizen suit provision of the federal Clean Water

Act, 33 U.S.C. § 1365, alleging Defendants are in violation of section 301(a) of the CWA, 33
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U.S.C. § 1311(a), by discharging stormwater associated with construction activities from a point

source(s) at Defendants’ property located at approximately 45°48’09.06” N, 119°21’52.26” W

into waters of the United States without the requisite permit. Defendants deny and contest

Plaintiffs’ allegations. Plaintiff and Defendants have now agreed to settle this matter, and the

proposed Consent Decree filed herewith memorializes the Parties’ agreement. The Parties now

request entry of their proposed Consent Decree as an order of the Court because it is fair,

reasonable, equitable, and does not violate the law or public policy, and it comes within the

scope of the pleadings and furthers the broad objectives upon which Plaintiff’s Complaint is

based. Sierra Club, Inc. v. Elec. Controls Design, Inc., 909 F.2d 1350, 1355 (9th Cir. 1990).

       The Consent Decree may not be entered as an order of the Court until forty-five days

after receipt of it by both the Administrator of the U.S. Environmental Protection Agency and the

U.S. Attorney General. See 33 U.S.C. § 1365(c)(3); 40 C.F.R. § 135.5. Accordingly, after filing

this motion, counsel for Plaintiff will serve copies of the proposed Consent Decree on the U.S.

Attorney General, the Administrator of the U.S. Environmental Protection Agency, and the

Administrator of Region 10 of the U.S. Environmental Protection Agency. Counsel for Plaintiff

will then notify the Court after confirming receipt of the proposed decree by those officials.

For the foregoing reasons, the Parties respectfully request entry of their proposed Consent

Decree, filed herewith, as an order of the Court.


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JOINT MOTION FOR ENTRY
OF CONSENT DECREE – 2
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       RESPECTFULLY SUBMITTED this 18th day of April 2022.

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JOINT MOTION FOR ENTRY
OF CONSENT DECREE – 3
